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    December 3, 2021                                                                              FI LED
                                                                                             IN CLERK'S OFFICE
    Hon. Joseph F. Bianco, Visiting Circuit Judge                                      U.S. DISTRICT COURT E.D.N.Y.
    United States District Court
    Eastern District of New York                                                       *       DEC O6 2021      *
    100 Federal Plaza
    Central Islip, New York 11722                                                       LONG ISLAND OFFICE

                                          Re:    Moroughan v. The County of Suffolk, et al.
                                                 12-cv-0512 (JFB) (AKT)

   Dear Judge Bianco:

           My office represents the County of Nassau and P.O. Edward Bienz in the above-
   referenced matter. This application is made on consent of all parties to request an extension of
   time to submit the Joint Pretrial Order in this matter.

           Pursuant to Your Honor's Order dated October 8, 2021 [DE 314] the deadline to file the
   Joint Pretrial Order had been extended to December 10, 2021. We write on behalf of all parties
   to request that the deadline tQ file the Joint Pre-Trial Order be extended to January 17, 2022.

           All parties recognize that this request seeks an additional extension. Regretfully the
   undersigned was incapacitated from work throughout the month of November, and presently
   remain on bed rest, due to a debilitating 4-week bout of influenza followed by bronchitis and
   sinusitis. As a result, I have been unable to conduct the necessary work required in order to
   complete preparation of the comprehensive Joint Pre-Trial Order in this complex matter
   involving close to fifty potential trial witnesses and more than five hundred potential trial
   exhibits, each of which must be examined, considered, discussed, addressed, and objected to as
   necessary, among many other similar issues as required by this Court's rules. Due to my poor
   health, I am unable to conduct the necessary work required to complete this task in a timely
   manner.

           The parties met and conferred at length on December 1, 2021, to address this, and other
   issues. As a result of that discussion the parties agreed to submit this joint application.
   Defendants will provide a detailed proposed joint pretrial order in response to plaintiffs initial
   draft as to items 1-8, and 10-11 as set forth in your Honor's Individual Rules as pertains to the
   joint pretrial order on or before January 7, 2022. The final proposed joint pretrial order will be
   finalized and filed no later than January 17, 2022. With respect to item 9, which requires the
   parties to designate, cross designate and where necessary object to deposition testimony to be
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     read at trial, inasmuch as there were close to fifty depositions conducted in this case, the parties
     understand that based upon this Court's previous rulings [DE 308/310 and DE 312/314] that the
     parties have been relieved of this requirement. We understand that the parties have been
     permitted to designate the entire transcript of a particular witness in the Joint Pretrial Order, and
     thereafter, should that witness become unavailable, to submit formal designations prior to the
     commencement of trial.

            Finally, I agreed to provide the plaintiff with a duplicate set of the NCPD rules and
    procedures in effect on the date of incident, which were previously disclosed, but inadvertently
    misplaced. For the reasons stated above, I have been unable to fulfill that promise. Accordingly,
    in the unlikely event those materials are not disclosed to Plaintiffs counsel prior to January 17,
    2022, due to circumstances beyond my control, all counsel agree to amend the joint pretrial order
    to allow Plaintiff the opportunity to designate those specific documents necessary to the
    prosecution of his case.

             Accordingly, the parties jointly request that the deadline to submit the Joint Pretrial Order
    in this case be extended until January 17, 2022. We are grateful for the Court's time and
    consideration of this application.


                                                           Respectfully submitted,


                                                           LEAHEY & JOHNSON, P.C.



                                                           Christopher Delamere Clarke [CDC 6160]

    On Consent of All Parties
    ViaECF




                                                          (\ /'so'\g RDERED
                                                          s/ Joseph F Bianco



                                                       v
                                                        / Joseph F. Bianco, USCJ

                                                          Sitting by Designation.


                                                      Date:_..;.O~u~,_l_201l
                                                              Central Islip, N.Y.
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